                                                   UNITED STATES BANKRUPTCY COURT
                                                          DISTRICT OF OREGON

In re                                                )
Freddie J. Hankins                                               19-34286-tmb12
                                                     ) Case No. _________________
                                                     )
                                                                                    02/17/20
                                                     ) CHAPTER 12 PLAN DATED __________
                                                     )   Motion to Value Collateral
Debtor(s)                                            )   Secured Claim Amount Limited with Creditor Consent

l.   The debtor shall pay to the trustee (a) a periodic payment of $________________________________________________________
                                                                        $18,000x2; $40,000 thereafter
                                                 quarter starting 5/15/2020
     every ______________________________________________________________________________                             (insert either month, quarter,
     six months or year); (b) all proceeds from avoided transfers, including proceeds from transfers avoided by the trustee; (c) upon receipt
     by the debtor, all net tax refunds attributable to prepetition tax years and net tax refunds attributable to postpetition tax years (i.e., tax
     refunds not included on Schedule I, less tax paid by debtor for a deficiency shown on any tax return for that same postpetition tax year
     or tax paid by setoff by a tax agency for a postpetition tax year) received by the debtor during:      The life of the plan, or     36 months
     from the date the first plan payment is due (check applicable provision; if neither is checked, “for the life of the plan” applies); (d) a lump
                         44,000
     sum payment of $_________________               02/15/23
                                                on __________(date);     and (e) _________________________________________________
     _________________________________________________________________________________________________________.
2. From the payments so received, the trustee shall make disbursements as follows:
   (a) First, to the trustee's commission and expenses.
   (b) Second, with respect to secured creditors, the terms of the debtor's prepetition agreement with each secured creditor shall continue
       to apply, except as otherwise provided for in this plan or the confirmation order. Secured creditors shall retain their liens until the
       payment of the underlying debt, determined under nonbankruptcy law, or discharge under §1228, as appropriate. Any allowed
       secured claims will be paid as shown below. Should the trustee not have sufficient funds in trust to pay fully the disbursements listed
       below, disbursements of funds available shall be made pro rata. If a creditor is not fully secured, the unsecured portion of the
       creditor's claim shall be treated under the provisions of pt. 2(e) and (f) if the claim identifies the priority portion of the claim, and, if
       not, under the provisions of pt. 2(f) only. The following also apply:
       (1) To creditors whose claims have been timely filed and allowed as secured, make payments as follows: Estimated prepetition
            arrearages on property must be shown below, separately, and identified as such if debtor is curing defaults under 11 USC
            §1222(b)(5)). THE ARREARAGES AND TOTAL AMOUNT OF DEBT SHOWN IN A TIMELY FILED AND ALLOWED
            SECURED CLAIM SHALL CONTROL.
                                                                                      Estimated
                                                   Estimated        Collateral       Total Debt,                              Post-
                                                   Arrearage,     Value, if Not        if Paying                          confirmation Periodic
       Creditor                  Collateral         if Curing     Paying in Full         in Full   Term of Payments Interest Rate Payment
See attached Ex A




              If payments to a creditor are to begin after debtor’s attorney has been paid, the payments to said attorney shall not exceed
              $_______________ before the creditor is paid. If the debtor is not paying the debt in full, the debtor MOVES the court for an
              order fixing the value of the collateral as set forth above.
              If the collateral is not to be sold, the value of the collateral shall be fixed in the amount stated above for purposes of
              administration of this plan as well as for purposes of the amount of any secured claim, if undersecured, unless
              objected to at or before the first date set for the confirmation hearing on this plan or, if applicable, prior to expiration
              of time to object to this proposed modified plan, in which case the value will be determined by the court. If the
              collateral is to be sold the value shall be the sales price. The debtor MOVES the court for an order so fixing the value
              of the collateral. Otherwise, the creditor’s proof of claim shall control.
         (2) DEBTOR PROPOSES THAT THE CREDITOR(S) SPECIFICALLY IDENTIFIED BELOW AGREE TO THE FOLLOWING
             TREATMENT WHICH THE COURT MIGHT NOT BE ABLE TO APPROVE ABSENT CONSENT OF CREDITOR(S). FAILURE
             OF CREDITOR(S) TO FILE A WRITTEN OBJECTION TO THIS PLAN PRIOR TO CONFIRMATION SHALL CONSTITUTE
             ACCEPTANCE OF THE PLAN. FROM THE PAYMENTS RECEIVED PURSUANT TO PT. 1, IF A CLAIM HAS BEEN TIMELY
             FILED AND ALLOWED AS SECURED, MAKE PAYMENTS TO THE FOLLOWING HOLDERS OF SUCH CLAIMS AS
             DETAILED BELOW. ESTIMATED PREPETITION ARREARAGES, IF CURING AND REINSTATING, MUST BE SHOWN
             BELOW. THE ARREARAGES SHOWIN IN A TIMELY FILED AND ALLOWED SECURED CLAIM SHALL CONTROL.
                                                                    Estimated
                                          Estimated   Collateral    Total Debt,                      Post-
                                          Arrearage, Value, if Not   if Paying                   confirmation Periodic
         Creditor           Collateral     if Curing Paying in Full    in Full  Term of Payments Interest Rate Payment
None




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                                                          Hankins, Freddie J.
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                                                                 Est         Collateral    Estimated     Interest   Quarterly Plan
        Creditor                   Collateral                 Arrearage     Value if Not    Secured        Rate       Payment

                                                                                                                         $15,000 X 2;
First Bank          F/V Exodus (No. 960616) & Certain IFQ's                                $855,000.00    6.67%     $27,400 thereafter
                                                                                                                             $125 x 2;
C-Wing Services     F/V Exodus (No. 960616)                                                  $8,567.62    5.75%      $2,225 thereafter
                                                                                                                             $100 x 2;
Englund Marine      F/V Exodus (No. 960616)                                                 $21,232.13    5.75%      $5,525 thereafter
                                                                                                                              $50 x 2;
Alaska Hydraulics   F/V Exodus (No. 960616)                                                  $2,715.36    5.75%        $725 thereafter

Wells Fargo         69570 Lantz Ln., Cove OR                     $10,431                                  0.00%              AAFAAF
Wells Fargo         69570 Lantz Ln., Cove OR                          $1                                  0.00%              AAFAAF
Wells Fargo         90346 Logan Rd., Astoria OR                  $11,749                                  0.00%              AAFAAF




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            If the collateral is not to be sold, for purposes of administration of this plan and case, the secured claim shall be limited
            to the value of the collateral stated above, unless creditor(s) objects at or before the first date set for the confirmation
            hearing on this plan or, if applicable, prior to expiration of time to object to any proposed modified plan, in which case,
            the values will be determined by the court. If the collateral is to be sold, the value shall be the sales price. The debtor
            MOVES the court for an order so fixing the value of the collateral.

            (3) Adequate protection payments shall be disbursed by the trustee pre-confirmation from funds on hand with the trustee in the
                payment amounts specified in the plan for the subject secured creditors, absent a provision in this plan or a court order providing
                for a different amount to be paid preconfirmation. If the debtor fails to make monthly payments sufficient to pay the adequate
                protection payments in full, the trustee will disburse available funds pro rata according to the payments proposed for subject
                secured creditors. Adequate protection payments paid through the trustee preconfirmation will be deducted from the amount
                of the allowed claim. Unless the concerned secured creditor is fully secured or oversecured, no interest shall be paid from the
                date of the filing of the petition to the date of confirmation unless otherwise specifically provided for in the payment provisions
                set forth above.

        (4) The debtor shall surrender any collateral which is not otherwise addressed by the terms of this plan no later than upon
            confirmation of this plan to the following creditors (state creditor NAME and DESCRIBE collateral to be surrendered):
      Wyndham Resort (Time share)




      (c) Third, pro rata, until fully paid, allowed unsecured domestic support obligations.
      (d) Fourth, allowed administrative expenses under §507(a)(2).
      (e) Fifth, pro rata, until fully paid, to allowed priority claims in the order stated in §507(a)(3)-(10), unless otherwise ordered.
      (f) Sixth, pro rata, to timely filed and allowed nonpriority unsecured claims, the amounts required by §1225(b)(1). These monies will
          be distributed in the method indicated in the applicable section marked below. The terms of pt. 8 shall also apply.
               (1) The creditors will receive approximately ______% 100      of their claims. This percentage will vary depending on the amount of
                    total creditors' claims filed.
               (2) The creditors will receive a minimum ______% of their claims. This percentage will not be reduced despite the amount
                    of total creditors' claims filed.
      (g) Pursuant to §1225(a)(4), the unsecured creditors as a group will receive             100%       a minimum of $_______________ (check
          applicable provision; if neither is checked, "100%" controls) plus ______%  1      shall be paid on all timely filed and allowed priority and
          nonpriority unsecured claims from the date of plan confirmation to compensate for deferred payment.

 3.     The debtor moves for assumption of the following executory contracts and leases:
    Creditor                                     Amount of Default [State if None]         Cure Provisions
 None




        Those executory contracts or leases not specifically mentioned above are treated as rejected. Any timely filed and allowed claim
        arising from rejection shall be treated under pt. 2(f). The debtor will pay all assumed executory contracts and leases directly, including
        amounts required to cure. The debtor shall surrender any property covered by rejected executory contracts or leases to the affected
        creditor no later than upon confirmation of this plan.

 4. The debtor shall pay directly to each of the following creditors, whose debts are fully secured, the regular payment due postpetition
    on these claims in accordance with the terms of their respective contracts, list any prepetition arrearages in pt. 2(b), and/or specify
    any other treatment of such secured creditor(s) in pt. 2(b):
 Wells Fargo Home Mortgage (1st mortgage, 69570 Lantz Ln., Cove, OR); Wells Fargo Home Mortgage (2nd mortgage, 69570
 Lantz Ln., Cove, OR); Wells Fargo Bank (90346 Logan Rd., Astoria OR)




 5.  The property described below is to be sold [also state offering price and whether it will be offered through a broker (and if so, who),
     and state date by which it will be sold and what will occur if it is not timely sold], all offers received by the debtor shall be promptly
     communicated to the trustee and lienholders, and no sale of such property shall be completed without notice to lienholders and the
     trustee and an opportunity for a hearing:
 Not Applicable.




 6.     Subject to the provisions of §502, untimely claims are disallowed, without the need for formal objection, unless allowed by court order.

 7.     Except as provided in this plan or in the order confirming the plan, upon confirmation of this plan all of the property of the estate shall

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      vest in the debtor(s) free and clear of any claim or interest of any creditor provided for by this plan pursuant to 11 USC §1227.


 8.   [To be completed if plan will not be completed until more than 36 months after the first plan payment due under the originally filed plan.]
      The scheduled month and year the plan will be completed is ___________________ and the cause for a plan longer than 36 months
      is: ________________________________________________________________________________________________.
      Except as otherwise explicitly provided by pt. _____, the debtor shall make plan payments for the longer of either: (a) 36 months from
      the date the first payment is due under the original plan, unless the debtor pays 100% of all claims with interest if required, or (b) the
      time necessary to complete required payments to creditors.

 9.   This plan may be altered postconfirmation in a non-material manner by court order after notice to the debtor, the trustee, any creditor
      whose claim is the subject of the modification, and any interested party who has requested special notice.

10.  Except as otherwise provided herein, (a) postpetition interest on all unsecured claims is disallowed, and (b) unsecured claims allowed
     in the amount of $25 or less, to the extent claims of that class are entitled to a distribution under this plan, shall be paid in the full
     amount allowed prior to any payments to other unsecured claims of the same class.
11. The Order of Confirmation shall not preclude the assertion by Debtor against any creditor of any and all objections to
claims, nor the raising by Debtor of offsets, counterclaims, or recoupment against any creditor.

12. Pursuant to Section 1222(b)(9), the secured claim of First Bank provided for in Paragraph 2(b)(1) above, shall be paid over
an amortized term of 48 quarters (12 years) beginning November 15, 2020. Payments on said secured claim during the life of
the plan shall be made by the trustee as provided herein; payments on said secured claim after completion of the plan shall be
made by the debtor directly to the secured creditor. Said secured claim shall be excepted from discharge pursuant to Section
1228(a)(1). Upon confirmation, the applicable loan documents shall be modified consistent with the terms of the plan.
Prepayment of the loan shall be permitted without any prepayment fee. Upon completion of payments, the remaining balance
shall be amortized over the remaining term.




           02/17/20
DATED: ______________                                                                              /s/ Freddie Hankins
                                                                                      ___________________________________________
                                                                                                         DEBTOR



CERTIFICATE OF SERVICE on Creditors/Parties Treated in Paragraphs 2(b)(1) and (2) (under the “Collateral Value, if Not Paying
in Full” columns) and 3 (see FRBPs 3012, 7004, and 9014, and LBR 6006-1(b)).

I certify that copies of this plan and the notice of hearing to confirm this plan were served as follows:

a) For creditors/parties who are not Insured Depository Institutions (served by court) (see FRBP 7004(b)), I either listed the
                                                                                                      02/18/20 I served the above-
creditors/parties in the mailing list filed with the court exactly as follows, OR, on (insert date) __________,
documents by first-class mail to the creditors/parties at the names and addresses exactly as follows (list each creditor/party, the
person or entity the creditor/party was served through, and the address):
C-Wing Services, Inc., c/o Christopher P. Wing, President & RA, PO Box 2827, Kodiak, AK 99616
Englund Marine Supply Co., c/o SW&W Registered Agents, Inc., 1211 SW Fifth Ave, Ste 1900, Portland, OR 97204
Alaska Hydraulics, c/o Thomas Loran, President & RA, 410 Shelikof, Kodiak, AK 99615


                                                                             02/18/20 I served the above-documents by certified
b) For Insured Depository Institutions (see FRBP 7004(h)), on (insert date) __________,
mail, or by other authorized means (specify), at the name and address exactly as follows (list each insured depository institution, the
person or entity the institution was served through, and the address):
First Bank, c/o Todd McManus, CEO/Pres., 331 Dock St., Ketchikan, AK 99901
Wells Fargo Bank, NA, c/o Charles W. Schwarf Pres/CEO, Corporate Offices, 420 Montgomery St., San Francisco, CA 94104




                                                                                                 /s/ Christopher N. Coyle
                                                                                      __________________________________________
                                                                                            DEBTOR OR DEBTOR’S ATTORNEY

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